Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19    PageID.196   Page 1 of 13



                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

MERCEDES BENZ USA LLC,                    2:19-CV-10951-AC-EAS
                                          Honorable Avern Cohn
           Plaintiff,                     District Court Judge

      v.                                  Honorable Elizabeth A. Stafford
                                          Magistrate Judge
DANIEL BOMBARDIER,
                                              DEFENDANT’S REPLY IN
           Defendant.
                                              SUPPORT OF MOTION TO
                                                   DISMISS UNDER
                                                 FRCP 12(b)(1) and (6)




                                      i
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19                                 PageID.197           Page 2 of 13



                                      TABLE OF CONTENTS


I.     MBZ FAILS TO ALLEGE A JUSTICIABLE CONTROVERSY .................1

II.    MBZ MISUNDERSTANDS SECTION 120 ..................................................1

       A. The plain statutory language shows the Artist is correct that Section

          120(a) limits only the new species of architectural copyrights. .................2

       B. The statutory scheme supports the Artist’s interpretation of Section

          120(a). .........................................................................................................3

       C. The Leicester case supports the Artist’s interpretation. .............................4

       D. The legislative history supports the Artist’s interpretation. .......................7

       E. MBZ’s argument that public art is not protected by copyright is wrong. ..7

       F. Section 120(a) does not exempt MBZ’s use of the Mural. ........................8

III.   MBZ MAKES A NUMBER OF MISCHARACTERIZATIONS ..................9




                                                          ii
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19         PageID.198    Page 3 of 13




         Nothing in MBZ’s Opposition alters the Artist’s analysis.

    I.       MBZ FAILS TO ALLEGE A JUSTICIABLE CONTROVERSY

         MBZ argues that the “great weight of authority holds” that a declaratory

relief action for non-infringement is ripe for adjudication even prior to registration

of the copyright. But the one published case MBZ cites is not a non-infringement

action at all, but rather a dispute between co-authors. Further, each of MBZ’s three

unpublished district court cases reject a jurisdictional challenge to a pre-

registration declaratory relief action, which became untenable after Reed. But the

Artist does not challenge subject matter jurisdiction. Rather, as explained in his

motion to dismiss, he argues that MBZ has failed to state a claim for a declaratory

relief, for the simple reason that it does not face an imminent legal action. [Motion

at 7.] Notably, MBZ avoids the leading case on this issue, in which the Eleventh

Circuit explains this distinction. Fastcase, Inc. v. Lawriter, LLC, 907 F.3d 1335,

1341 (11th Cir. 2018).

                  II.   MBZ MISUNDERSTANDS SECTION 120

         The Artist moves to dismiss MBZ’s third cause of action for a judicial

declaration that “the mural is exempt from protection under the Architectural

Works Copyright Protection Act, based upon the terms of 17 U.S.C. § 120(a).”

[Complaint ¶ 60.] The Artist argues that (1) MBZ failed to allege that the building



                                           1
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19         PageID.199    Page 4 of 13



on which the Mural appears is an “architectural work,” and (2) even if the building

was an architectural work, it does not follow that photographs of pictorial, graphic,

and sculptural (“PGS”) works appearing thereon are “exempt from protection.”

      MBZ’s response is disarmingly simple. It argues Section 120(a) allows

photography of buildings. Period. If this interpretation of Section 120(a) is correct,

it would hardly matter that MBZ failed to properly allege the existence of an

architectural work. And if such protection were as absolute as MBZ claims, the

inclusion of PGS works in the exemption would require no additional analysis.

      MBZ’s interpretation can make sense at first glance. Why would something

need to be copyrighted, in order to be exempt from copyright? But as explained

below, the exemption applies only to protected architectural works because the

public has always been, and remains, free to photograph all other buildings, which

are uncopyrightable useful objects. Without Section 120(a), the new species of

“architectural copyright” would make an infringer of anyone snapping pictures in

the vicinity of a new building. Section 120(a) merely preserves the right to

photograph post-1990 buildings despite their new copyright protection.

A.    The plain statutory language shows the Artist is correct that Section
      120(a) limits only the new species of architectural copyrights.

      MBZ suggests that the Artist avoids the plain language of the statute. But

that language states unequivocally that it applies only to copyrighted “architectural

works.” Section 120(a)reads, in pertinent part:

                                          2
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19          PageID.200    Page 5 of 13



      The copyright in an architectural work that has been constructed
      does not include the right to prevent the making… of photographs of
      the work…. (emphasis added).

      It's hard to imagine language that more clearly contradicts MBZ’s claim that

Section 120(a)was enacted to allow photography of all buildings. The statute says

only that a “copyright in an architectural work” shall be limited, in that such a

copyright cannot be used to prevent photography of that building. The statute says

nothing about non-copyrighted buildings, or non-architectural copyrights.

      No one has ever suggested that the propriety of photographing pre-1990

buildings, or useful objects in general, carried with it the right to reproduce graphic

or sculptural works that appear on buildings (or on other useful objects such as

clothes or furniture). Indeed, courts have developed a rigorous jurisprudence to

determine when a PGS work is separable from a useful object that it appears on or

in, and thus protected by copyright. See, e.g., Star Athletica, L.L.C. v. Varsity

Brands, Inc., 137 S. Ct. 1002 (2017). Nothing in the AWCPA suggests that it was

meant to alter this calculus, for either pre- or post-1990 buildings.

B.    The statutory scheme supports the Artist’s interpretation of Section
      120(a).

      Besides the plain language of Section 120(a), context shows that its sole

function is to limit copyrights in architectural works. For one thing, the title of

Section 120(a) is “Scope of exclusive rights in architectural works.” That Section

120(a) is part of the AWCPA also supports the idea that it limits only the new

                                           3
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19         PageID.201    Page 6 of 13



copyrights created thereunder. If Congress wished to allow photography of

buildings generally, it would not have done so as part of, and within, legislation

creating new copyrights for post-1990 original buildings.

C.    The Leicester case supports the Artist’s interpretation.

      Both sides appear to agree that Leicester is a key case. MBZ quotes

language on page 1219 of Leicester, that Section 120(a) “’allows the public the

right to photograph public buildings’ including any work that is ‘part of the

architectural work.’” [Opp. at 16.] But this quotation is not the holding of the case.

First, it is a cobbling together of various phrases on page 1219. Second, it is a

recitation of the defendant’s position—not that of the court. Indeed, although MBZ

neglected to include an ellipsis, the quoted sentence continues to also describe the

plaintiff’s contrary position: “… unless, as Leicester contends, the 1990

amendments specifically provide for the continued separate protection of sculptural

works attached to buildings.” Leicester v. Warner Bros., 232 F.3d 1212, 1219 (9th

Cir. 2000).

      Even if these were the court’s words, MBZ glosses over the key phrase “part

of the architecture,” to which the court devoted considerable attention. As

explained below, quite a lot is required in order for a PGS work to be “part of”

architecture (such as that it be planned along with the building, match its look and

materials, and perform architectural functions).



                                          4
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19        PageID.202    Page 7 of 13



      The true “holding” of Leicester supports the Artist. To explain, some

discussion of Leicester’s confusing three-way split is required. The question that

divided the judges (and which arises here) was whether Section 120(a) allowed

reproduction and use of PGS work in or on a building. Judge Tashima’s

(concurring) view was similar to MBZ’s here: that Section 120(a)’s permission to

photograph a building trumped the copyright protections of PGS works embodied

therein. Leicester, 232 F.3d at 1222. Judge Fisher’s dissent offered a muscular

argument for the contrary position (similar to the Artist’s view here) that Section

120(a) limits only copyrights in architectural works, and does not affect the

copyright in PGS works appearing in a photograph of a building. Id., at 1225-1236.

      Judge Rymer’s majority opinion obviously agreed with the concurrence in

its result (no infringement because Section 120(a) applied), but it agreed with the

dissent that a PGS work on a building was generally still protected. The majority

opinion found that that Section 120(a) applied only as a matter fact—because the

purported sculptural work was part and parcel of the architecture. 1 There was no




1
  Given the extraordinary degree of integration of the plaintiff’s purported
“sculptural work” into the building’s architecture, Leicester shows just how rare it
will be that a purportedly independent work will be “part of” a building’s
architecture. This was no mere sculpture. Rather it was a courtyard, garden, public
space, and fountain—all contained by large walls that included decorative three-
story high towers. Many of the particulars of the “sculpture” were mandated by
architectural codes imposed by a development agency, and the work was planned

                                          5
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19          PageID.203    Page 8 of 13



separate PGS work according to Judge Rymer, just an architectural work with

sculptural elements—to which Section 120(a) would obviously apply. Under this

approach, Judge Rymer (like the dissent) would protect a PGS work that was not

simply “part of” the architecture. Judge Tashima wrote a concurrence precisely

because he disagreed with the majority (and dissent) on this point.2

      Leicester offers MBZ no get-out-of-jail-free card because no one would

suggest that the Artist’s Mural here is really just an aspect of the building’s

architecture. See Falkner v. Gen. Motors LLC, 2018 WL 5905820, at *5 (C.D. Cal.

Sept. 17, 2018) (“All three judges on the [Leicester] panel unambiguously agreed

that, for Section 120(a) to apply to a PGS work …, the PGS work must be ‘part of’

an architectural work.”) MBZ has not pled such integration, and its (accurate)

description and photographs of the Mural disclose that it could not be plausibly

pled. Accordingly, if MBZ wants to argue that it did not infringe because

advertisers need the right to photograph urban streetscapes, it will have to rely on

the fair use doctrine, which has long served this purpose.




and built along with the building, matching its look and materials. Leicester, 232
F.3d at 1214, 1219.
2
  Further, not only was Judge Tashima alone in his reasoning, he stopped well short
of endorsing the absolutist proposition that MBZ attributes to him (and
inexplicably to the case itself). He did this by qualifying his argument as applying
“at least” where the PGS work is a “functionally part of the architectural work.” Id.
at 1222 (emphasis added).


                                           6
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19         PageID.204    Page 9 of 13



D.    The legislative history supports the Artist’s interpretation.

      As described in the Artist’s Motion, the legislative history of the AWCPA

explains that it was enacted to do no more than required to comply with U.S.

obligations in joining Berne, which mandated protection for architecture. Berne did

not require absolute freedom to photograph buildings—and in fact Congress had to

carefully study whether limiting architectural copyrights to allow photography was

consistent with the required protections. See House Report 101-735, p 22.

      MBZ cites to portions of legislative history that emphasize the cultural

importance of photography of buildings. [Opp. at 14, 15.] But these excerpts

support the Artist’s interpretation—as a reason to avoid going overboard in

protecting architecture via copyright. Again, these comments came within the

context of creating architectural copyrights for the first time. More important, the

legislative history states in no uncertain terms that Section 120(a) applies only to

architectural works and is meant to limit the copyright in those works: “[The

AWCPA] creates a new section 120(a)…, limiting the exclusive rights in

architectural works.” [H.R., p. 21]. In other words, Section 120(a) simply took

back a little of what the AWCPA gave.

E.    MBZ’s argument that public art is not protected by copyright is wrong.

      If more evidence were needed that MBZ is bending copyright law to suit its

purposes, it is provided by its absurd assertion that “Indeed, placement of art



                                          7
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19         PageID.205     Page 10 of 13



within public view is inconsistent with a claim to exclusive ownership.” [Opp. at

15.] This could not possibly be true: Artworks in museums, galleries, and public

square are fully protected by copyright. The lone case MBZ offers in support has

nothing to do with copyright law. Rather, R.MS. Titanic, Inc. v. Haver involved

salvage law, which gives “salvors” certain rights in recovered artifacts, based on

ancient uncodified international law. 171 F.3d 943, 970 (4th Cir. 1999).

F.    Section 120(a) does not exempt MBZ’s use of the Mural.

      Section 120(a) has no application to this case, at least as it is currently pled.

By its plain language, all Section 120(a) provides is that the copyright in a building

(a new concept) shall not prevent photography of that building. It says nothing

about the copyright in PGS works on a building, like the Mural. Accordingly, PGS

works are protected as they always have been.

      The Artist does not contend that “no one… is allowed to photograph a

publicly visible building if graffiti art has been painted on the building.” Under

well-established law, most of such photography (including cityscapes and street

scenes) will qualify as fair uses. MBZ does indeed bring a claim for non-

infringement under the fair use doctrine, and notably, the Artist does not challenge

that claim because it has the virtue of coherence. A court will eventually decide

whether MBZ’s advertising photograph, which appears to feature the Mural as its

centerpiece, constitutes a fair use—but MBZ cannot escape copyright liability



                                           8
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19      PageID.206    Page 11 of 13



without an analysis by pretending that all photographs of buildings are permitted.

Because Section 120(a) could not act as a defense, the Court should dismiss

MBZ’s third cause of action.

     III.   MBZ MAKES A NUMBER OF MISCHARACTERIZATIONS

      The Artist also addresses the following mischaracterizations by MBZ.

   • MBZ characterizes the Artist as disputing MBZ’s (and the public’s) right to
     photograph the Mural. But what the Artist objects to, of course, is the use of
     the Mural in MBZ’s advertising.

   • MBZ emphasizes that it “obtained a permit to photograph” and
     photographed only “in the permitted locations.” What MBZ means, but
     might not be readily apparent, is only that it obtained a simple permit from
     the city to do outdoor photography in certain areas. No one would suggest
     this somehow amounted to permission to use the Mural.

   • MBZ asserts that this case is not about “whether graffiti [mural] artists have
     or should have intellectual property rights.” But it most certainly is. MBZ’s
     interpretation of Section 120(a), if adopted by courts, would eviscerate
     copyright protection PGS works placed on buildings.

   • MBZ alleges that the Artist has demanded $80 million for use of the murals.
     In due course, this will be shown to be false.

Respectfully submitted,

DATED: May 29, 2019
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                                         9
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19   PageID.207   Page 12 of 13



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                                     10
Case 2:19-cv-10951-AC-EAS ECF No. 15 filed 05/29/19          PageID.208   Page 13 of 13



                          CERTIFICATE OF SERVICE

      I hereby certify that on May 29, 2019, I electronically filed the foregoing
DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS UNDER
FRCP 12(b)(1) and (6) with the Clerk of the Court using the ECF system, which will
send notification of such filing to all counsel of record.

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                                          11
